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                          Samuel Barrow v.
             Terminix International Company, L.P., et al




                            Katrina Helmkamp
                            November 03, 2009




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 1                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF OHIO
 2                                     WESTERN DIVISION

 3

 4

 5

 6             SAMUEL BARROW,

 7
                            Plaintiff,
 8

 9

10             vs                                       File No. 3:07 CV 0324
11

12

13             TERMINIX INTERNATIONAL
               COMPANY, L.P., and GEORGE
14             VENTURELLA,

15
                            Defendants.
16                                                                  /
17

18

19

20

21                   The videotaped deposition of KATRINA HELMKAMP, taken

22             before Karyn S. Schultz, CSR-4269, Certified Shorthand

23             Reporter and Notary Public, at 211 Hilltop Road, St.

24             Joseph, Michigan, on the 3rd of November, 2009,
25             commencing at 2:09 p.m., pursuant to notice.

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                                                                                      2

 1                                      APPEARANCES:

 2

 3                   FOR THE PLAINTIFF:

 4                          MR. DAVID G. TORCHIA
                            Tobias, Kraus & Torchia
 5                          911 Mercantile Library Bldg.
                            414 Walnut Street
 6                          Cincinnati, Ohio 45202

 7
                     FOR THE DEFENDANT:
 8
                            MR. THOMAS M. L. METZGER
 9                          Littler Mendelson
                            21 East State Street, Ste. 1600
10                          Columbus, Ohio 43215
11
                     ALSO PRESENT:
12
                            RICHARD JOHNSON, Videographer
13                          DAVID GRUMBINE
14

15

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17
               Examination by Mr. Metzger                                         4
18             Examination by Mr. Torchia                                        18
               Further Examination by Mr. Metzger                                24
19
20

21                                         EXHIBITS

22             (Marked in previous depositions, referenced today).

23             Plaintiff's    Exhibit   7 - 7-15-05 Letter
               Plaintiff's    Exhibit   8 - 7-19-05 Letter
24             Plaintiff's    Exhibit   10 - 7-21-05 Letter
               Plaintiff's    Exhibit   11 - 7-25-05 Letter
25

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 1                          P   R   O   C   E   E   D   I   N   G   S

 2

 3                          THE VIDEOGRAPHER:        Let the record reflect that

 4             we are here to take the videotaped deposition of

 5             Katrina Helmkamp in the matter of Samuel Barrow versus

 6             Terminix International Company, L.P., and

 7             George Venturella, Defendants, in the U.S. District Court
 8             for the Southern District of Ohio, Western Division.

 9             Today is Tuesday, November 3rd, 2009.                The time is 2:09
10             p.m.    We are located at 211 Hilltop Road, St. Joseph,
11             Michigan.

12                          Would counsel identify themselves for the
13             record, please?
14                          MR. METZGER:        I am Tom Metzger with Littler

15             Mendelson, here on behalf of Terminix and
16             George Venturella, the Defendants in this matter.
17                          MR. TORCHIA:        I am David Torchia here on behalf

18             of the Plaintiff, Sam Barrow.

19                          THE VIDEOGRAPHER:        Would the court reporter
20             please swear in the witness?

21

22                                  KATRINA HELMKAMP,

23             the witness herein, having been first duly sworn, was

24             examined and testified as follows:
25

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 1                                     EXAMINATION

 2             BY MR. METZGER:

 3      Q      Good afternoon.

 4      A      Good afternoon.

 5      Q      Can you please introduce yourself to the Jury and the

 6             Court and state your full name?

 7      A      Sure.    My name is this Katrina Helmkamp.           And I have a
 8             permanent residence at 2315 Poplar Avenue in Evanston,

 9             Illinois, 60201.
10      Q      And may I call you Ms. Helmkamp?
11      A      Yes.

12      Q      Very good.     Where do you currently work?
13      A      I work at Whirlpool Corporation.
14      Q      And how long have you worked with Whirlpool?

15      A      I joined Whirlpool October of 2007.
16      Q      And with Whirlpool where are you based?
17      A      I'm based in Benton Harbor, Michigan.

18      Q      Ms. Helmkamp, were you at one time employed with

19             Terminix?
20      A      Yes, I was.

21      Q      When did you start working with Terminix?

22      A      I started at Terminix in January of 2005.

23      Q      What position were you hired into at Terminix?

24      A      I joined as president of Terminix.
25      Q      And how long were you the president of Terminix?

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 1      A      I was president of Terminix until, it would have been

 2             November or December of 2006, when I was promoted to a

 3             group president role within ServiceMaster.              And then I

 4             was responsible for Terminix and the two TruGreen

 5             companies.

 6      Q      And how long did you remain with Terminix and

 7             ServiceMaster?
 8      A      I left ServiceMaster in August of 2007.

 9      Q      And so you served as president of Terminix, and in other
10             roles, for approximately two-and-a-half years, is that
11             correct?

12      A      Yes, in total with ServiceMaster, that's right.
13      Q      As president of Terminix where were you based?
14      A      I was based in Memphis.

15      Q      And why was the office in Memphis?
16      A      Where was it?
17      Q      Why was it?

18      A      Why was it.      Oh, because all of the operations were based

19             in Memphis, Tennessee.
20      Q      And can you briefly explain to the Jury and to the Court

21             what were your responsibilities as president of the

22             company?

23      A      At a high level, I had responsibility for both growth of

24             the overall business, but also improvement in
25             profitability.      Had responsibility for all of our service

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 1             lines, both pest control and termite.             Had responsibility

 2             over what at the time were more than 300 company owned

 3             branches, and about two million customers across both the

 4             pest and termite customers, and about 10,000 associates.

 5      Q      And that anticipates some of my questions about the size

 6             of the company.       You say that there were approximately

 7             10,000 employees with the company?
 8      A      Yes, that's right.

 9      Q      Over what area?       Was that just within the United States
10             or worldwide?
11      A      That was over all of Terminix.           But Terminix was very

12             heavily concentrated in the U.S.           We had a few employees
13             in Mexico.     And then we had a few franchisees outside of
14             U.S. and Mexico.

15      Q      And with respect to the branches, approximately how many
16             branches were there with Terminix at the time that you
17             were president of the company?

18      A      When I first joined in 2005, there were something a

19             little over 300 branches.         I believe it was closer to 400
20             locations by the time I moved into my next role in

21             ServiceMaster.

22      Q      And did you oversee this entire operation as president of

23             Terminix?

24      A      Yes, I did.
25      Q      As president of Terminix, did you also have a variety of

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 1             individuals reporting to you?

 2      A      Yes.    When I joined as president of Terminix, I had ten

 3             direct reports plus my administrative assistant.

 4      Q      What types of positions were reporting directly to you as

 5             president?

 6      A      Okay.    I had three people who were in operating roles.

 7             The chief operating officer was Tom Brackett.               I had
 8             Wayne Golden who was the head of our commercial pest

 9             control business.       I had Lou Rossi who was in charge of
10             our new business development and acquisitions.               And then
11             I had heads of the various functional areas.              I had chief

12             financial officer, Steve Howard.           I had chief marketing
13             officer, Steve Good.        I had head of HR, who was initially
14             Bill Young, and then became Arlen Small in that head of

15             HR role, approximately February of '05.             And then I had a
16             chief information officer, Lee Crump.             I had two
17             co-counsels, Terry Wheel and Steve Carter.              And I had

18             someone in charge of government affairs who was

19             Norm Goldenberg.
20      Q      And at the more local level, were there branch managers

21             over the 300 plus branches or service centers?

22      A      Yes.    There was a branch manager in charge of each of the

23             branches.

24      Q      Also at the local level, would there be service techs and
25             sales representatives?

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 1      A      Yes.    Within each branch, we had service techs, both pest

 2             control and termite control service techs, and then we

 3             also had sales reps, and a few admin people.

 4      Q      Did those individuals, such as the service techs, go into

 5             customers' homes and businesses to perform services on

 6             behalf of the company?

 7      A      Yes.    The service techs and the sales representatives had
 8             occasion to go into consumers' homes or business

 9             customers' places the business.
10      Q      Did Terminix conduct background checks on these
11             individuals who were performing those services for the

12             customers of the company?
13      A      Terminix conducted background checks.             Those were
14             criminal background checks, those were moving vehicle

15             checks, as well as drug tests.           And that was not just
16             Terminix, that was ServiceMaster policy.             So that really
17             applied to all of the ServiceMaster business units.

18      Q      As president of Terminix, did you believe it was

19             important to conduct those background checks?
20      A      Yes.    We viewed it as a point of competitive

21             differentiation.       And that was why ServiceMaster, as the

22             parent company, had chosen to do that.             We were able to

23             tell our consumers that anyone who would be in their home

24             had had a drug test, had been background checked.                If
25             they were driving a company vehicle, they had had moving

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 1          vehicle checks.      And we thought that was an important

 2          thing that we could offer our consumers.             Not all of our

 3          competitors did that.

 4   Q      When you were hired by Terminix, did you go through a

 5          criminal background check?

 6   A      Yes, I did.     I went through all three of those, the drug

 7          test, the criminal background check, and the moving
 8          vehicle record check.

 9   Q      As president of the company, were you ever aware of any
10          exception to the requirement that individuals who were to
11          be employed by the company as a full-time employee go

12          through that full background check process?
13   A      No, there would not have been exceptions to that.
14   Q      Samuel Barrow has sued Terminix, as well as an individual

15          by the name of George Venturella in this matter.               During
16          the time that you were employed with Terminix, did you
17          ever meet Mr. Barrow?

18   A      No, I did not.

19   Q      Have you ever met Mr. Barrow at any time?
20   A      No.

21   Q      While you were at Terminix, did you ever hear that

22          Mr. Barrow had applied for a position with the company?

23   A      No, I did not.

24   Q      Mr. Barrow allegedly sent some letters to the company.
25          And I'm going to show you these documents as previously

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 1          marked by the Plaintiff.         The first is Plaintiff Exhibit

 2          Number 7, dated July 15, 2005.          And I will ask that you

 3          review that letter.

 4                      Have you had an opportunity to review that?

 5   A      Yes, I did.

 6   Q      Your name is on the letter, on the bottom indicating that

 7          you were copied.      Do you see that?
 8   A      Yes, I do.

 9   Q      First of all, do you see any address to where this letter
10          was allegedly sent?
11   A      No, there is no address.

12   Q      Do you see any e-mail address?
13   A      No.
14   Q      If this letter was sent, is there anything to indicate

15          how it was sent?
16   A      No, there is not.
17   Q      Does it indicate where Mr. Barrow is?

18   A      No, there is no address for him.

19   Q      Did you ever see that letter while you were employed at
20          Terminix?

21   A      No, I did not.

22   Q      Did you ever discuss that letter or its contents with

23          anyone while you were at Terminix?

24   A      No.
25   Q      Mr. Ward's name is on the letter, Jonathan Ward.

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 1   A      Um-hmm.

 2   Q      Who is he?

 3   A      He was the CEO of ServiceMaster.

 4   Q      And, again, what is ServiceMaster as it relates to

 5          Terminix?

 6   A      ServiceMaster is the parent company.            And then within

 7          ServiceMaster, there are a number of business units.                  At
 8          the time Terminix, two TruGreen companies, Merry Maids,

 9          et cetera.
10   Q      Did you ever discuss Mr. Barrow with Jonathan Ward at any
11          time while you were employed with the company?

12   A      No.
13   Q      Did Mr. Ward ever indicate to you that he had received
14          any letters or communication from Mr. Barrow?

15                      MR. TORCHIA:      Objection.     Hearsay.
16   A      No, he did not.
17   Q      (BY MR. METZGER)      Ernest Mrozek, his name is on there.

18          Who is he?

19   A      Ernie Mrozek at various points in his career was CFO and
20          COO, chief operating officer, for ServiceMaster.               I don't

21          remember what his position was, whether it was chief

22          financial officer or chief operating officer at this

23          point in time, July of 2005.          But he would have been

24          reporting directly to John Ward.
25   Q      Did you ever discuss Mr. Barrow or any alleged letter

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 1          with Mr. Mrozek at any time when you were employed with

 2          the company?

 3   A      No.

 4   Q      And there is one other name on the letter, James Goetz.

 5          Who is he?

 6   A      Jim Goetz was the CIO, the chief information officer, in

 7          charge of IT, again for all of ServiceMaster.              So he was
 8          reporting directly to John Ward.

 9   Q      And did you ever discuss Mr. Barrow or any alleged letter
10          that Mr. Barrow may have sent with Mr. Goetz at any time
11          that you were employed with the company?

12   A      No, I did not.
13   Q      Let me also show you Plaintiff's Exhibit Number 8, which
14          is a letter dated July 19, 2005.           Please take a moment to

15          review that.
16   A      Okay.
17   Q      Again, do you see any address or any indication as to how

18          this may have been sent?

19   A      No, I do not.
20   Q      Did you ever see this letter while you were at Terminix?

21   A      No.

22   Q      Did you ever discuss this letter or its contents with

23          anyone while you were at Terminix?

24   A      No.
25   Q      Or with ServiceMaster whatsoever?

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 1   A      No.

 2   Q      Plaintiff's Exhibit Number 10 is a letter dated July 21,

 3          2005.    Please take a moment to review that.

 4   A      Okay.

 5   Q      Did you ever see that letter while you were at Terminix

 6          or ServiceMaster?

 7   A      No.
 8   Q      Did you ever discuss that letter or its contents with

 9          anyone while you were at Terminix or ServiceMaster?
10   A      No.
11   Q      Plaintiff's Exhibit Number 11 is a letter that allegedly

12          was written on July 25, 2005.          Please take a moment to
13          review that letter.
14   A      Okay.

15   Q      Did you ever see that letter while you were at Terminix
16          or ServiceMaster?
17   A      No.

18   Q      Did you ever discuss that letter or its contents with

19          anybody at Terminix or ServiceMaster while you were
20          employed there?

21   A      No.

22   Q      There is another name that shows up at the bottom of this

23          alleged letter.      Do you know who that is referring to?

24          It starts with George.
25   A      No.   It says, George Ventureus, branch manager.

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 1   Q      Did you ever see any letter that Mr. Barrow had allegedly

 2          sent directly into the company during the time that you

 3          were with Terminix or with ServiceMaster?

 4   A      No.

 5   Q      By the way, did Mr. Barrow ever call you?

 6   A      No, he did not.

 7   Q      Did Mr. Barrow ever e-mail you?
 8   A      No.

 9   Q      Did Mr. Barrow ever send you a facsimile or a fax?
10   A      No.
11   Q      Did he ever send you a certified letter?

12   A      No.
13   Q      Did Mr. Barrow ever send you any letter by Express Mail
14          or by Federal Express?

15   A      No.
16   Q      Now, George Venturella was working at the Dayton location
17          of Terminix in 2005.        While you were with Terminix or

18          ServiceMaster, did you ever discuss Mr. Barrow with

19          Mr. Venturella?
20   A      No.

21   Q      Did Mr. Venturella ever indicate to you that he had

22          received letters from Mr. Barrow?

23                      MR. TORCHIA:      Objection.

24   A      No, he did not.
25   Q      (BY MR. METZGER)      While you were with Terminix and

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 1          ServiceMaster, did you ever discuss Mr. Barrow with a

 2          Mr. Nathan Caulfield?

 3   A      No.

 4   Q      While you were with Terminix and ServiceMaster, did you

 5          ever discuss Mr. Barrow with a Mr. Bobby Lowe?

 6   A      No.

 7   Q      Do you know who Matt Maher is?
 8   A      I do remember Matt Maher.         He was one of the regional

 9          human resources, HR people for Terminix.
10   Q      And during the time that you were with Terminix and
11          ServiceMaster, did you ever discuss Mr. Barrow with

12          Mr. Maher?
13   A      No.
14   Q      While you were at Terminix and ServiceMaster, did you

15          have any meetings or conferences regarding Mr. Barrow?
16   A      No.
17   Q      Have you ever had a conversation with a person by the

18          name of Doug Rix regarding Samuel Barrow?

19   A      No.
20   Q      Have you ever had a conversation with Doug Rix at all?

21   A      No.

22   Q      Have you ever met him?

23   A      No.

24   Q      There are accusations that you were speaking about
25          Mr. Barrow while in a bar in Dayton, Ohio in 2007.               Now,

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 1          let's discuss that briefly.         Were you in a bar in Dayton,

 2          Ohio in the beginning of 2007?

 3   A      No, absolutely not.

 4   Q      Were you in a bar in Dayton, Ohio at any time in 2007?

 5   A      No.

 6   Q      Were you in Dayton, Ohio at any time in 2007?

 7   A      No.
 8   Q      For any purpose?

 9   A      No.
10   Q      How are you so sure of that?
11   A      Because I spent a fair amount of time in the field in

12          2005 when I was new as the president of Terminix.               I
13          purposely made it out and visited every single one of our
14          regions.    And at the time we had somewhere between 40 and

15          45 regions.     I made it a point of visiting all the
16          regions during my first year as president.             Typically,
17          while I was in the region, I would then visit one or two

18          branches.     And I recall visiting Dayton in 2005 as part

19          of a sales kick-off, which means it was probably in
20          spring of 2005.      I could have visited Dayton in the early

21          part of 2006, although I don't believe I did.              I am

22          confident I did not visit Dayton any time August, 2006 or

23          after because starting about August of 2006 I was

24          consumed with ultimately moving into my new role within
25          ServiceMaster, which was later in '06.            So then my visits

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 1          were very focused on the TruGreen branches.              And then

 2          also the company ended up going through a sale process.

 3          The ServiceMaster Company ultimately sold to a private

 4          equity firm.     So what I recall is that in the back part

 5          of 2006, and in the rest of 2007 when I was with

 6          ServiceMaster, I had very, very limited time to be out in

 7          the field.     The few trips that I made out to the field I
 8          can remember because they were focused on TruGreen

 9          branches.     Almost all my time was spent in either Memphis
10          or in New York working on what ultimately became the sale
11          to the private equity company.

12   Q      So if someone, such as Mr. Rix, alleges that they spoke
13          with you in a bar in Dayton, Ohio in early, 2007, would
14          that be a false allegation?

15   A      Yes, that would be a false allegation.
16   Q      And if someone, such as Mr. Rix, alleges that while in a
17          bar in Dayton, Ohio you were making statements about

18          Sam Barrow, would that be a false allegation?

19   A      Absolutely that would be false.
20   Q      Have you ever had a conversation with a person named

21          Angela Hyatt regarding Samuel Barrow?

22   A      No, I have not.

23   Q      Have you ever met Angela Hyatt?

24   A      No.
25   Q      And if someone, such as Angela Hyatt, alleges that in

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 1          2007, you were making statements about Sam Barrow and his

 2          allegations, would that be a false allegation?

 3   A      Yes, that would be false.

 4   Q      And if someone, such as Angela Hyatt, alleges that you

 5          were making statements about Mr. Barrow to

 6          Nathan Caulfield, would that be a false allegation?

 7   A      Yes, that would be false.
 8   Q      Have you ever had a conversation with a person named

 9          Russell Osborn?
10   A      No.
11   Q      Have you ever met Russell Osborn?

12   A      No.
13                      MR. METZGER:      Ms. Helmkamp, thank you very much
14          for your time today.        I have no further questions.

15
16                                  EXAMINATION
17          BY MR. TORCHIA:

18   Q      Ms. Helmkamp, you have testified before that you had an

19          administrative assistant who reported directly to you,
20          correct?

21   A      Yes, that's right.

22   Q      And she was the person who was responsible for opening

23          your mail, correct?

24   A      Yes, she did.
25   Q      And she had discretion to open your mail.             And if she saw

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 1          that the mail complained a containt (sic) -- contained a

 2          complaint, she had discretion to send that back to the

 3          branch for resolution, right?

 4   A      Over time, my assistant learned how I typically asked for

 5          resolution on anything that came to me.             If it was an

 6          employee complaint, then typically I would be giving it

 7          to either legal or HR to investigate.
 8   Q      Okay.

 9   A      So my assistant, after she learned my habits, could have
10          already given it to legal or HR to look into.              But she
11          would have also put a copy on my desk.

12   Q      Okay.    And if it was a complaint that your assistant
13          believed to be a consumer complaint, she would send that
14          back to the branch for resolution as the first step,

15          right?
16   A      If it were a consumer complaint that came to my office,
17          she would typically send it back to the branch initially.

18          Ask them to resolve it.        Let us know when and how it was

19          resolved.     And then we would follow up with a letter from
20          me.

21   Q      Okay.    And there was at Terminix a mail system that

22          didn't involve certified mail or U.S. Mail, correct?

23          There was --

24   A      There was at least some mail system where we could send
25          material out to the branches.          Because I know when we

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                                                                                  20

 1          wanted to get consistent information out to the branches

 2          we did have a mail system that went out to the branches.

 3   Q      Okay.

 4   A      And it was -- it was more a collection of mail.               So it

 5          would not have been certified, and I don't believe it was

 6          overnight.

 7   Q      Okay.    When you say we, you mean the home office?
 8   A      The home office, that's right.

 9   Q      Okay.    And by the same token, there was a collection
10          system -- a delivery system from the branches to the home
11          office by the same reverse process?

12   A      I believe there was.        You should really ask someone who
13          is still at Terminix to describe that.
14   Q      And it is -- it is your testimony -- it has been your

15          testimony that none of the letters that Mr. Metzger
16          showed you ever came across your desk or you didn't
17          recognize them, you haven't seen them before.

18          Approximately a year -- a year ago we had your deposition

19          roughly, right?
20   A      Yes, that's correct.        And I do not recognize the name.

21          I'm confident that those did not come across my desk.

22   Q      Okay.    Which means either your secretary did something

23          with them or you never saw them or nobody followed up

24          from HR or legal with you about those, correct, if they
25          were received?

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                                                                                  21

 1   A      I find it hard to believe that they were received.

 2          Because if they were received, they would have also at

 3          least had a copy on my desk.          And if I had received this

 4          many letters from the same person in such a short time

 5          period I'm confident I would remember the name.

 6   Q      Okay.    You thought Mr. Barrow may have been a -- when you

 7          first heard that there was a lawsuit, you thought he may
 8          have been a customer?

 9   A      Yes.    When I first heard that there was a lawsuit, and
10          all it said was Samuel Barrow versus Terminix, I assumed
11          it was probably a customer only because with two million

12          customers and 10,000 associates, we were more likely to
13          hear from a customer than an associate.
14   Q      Okay.    And the first time that you ever heard from any

15          attorney inside or outside of Terminix about Mr. Barrow
16          was about October of 2008, is that right?
17   A      October of 2008 is when I was approached for this to give

18          a deposition.      Now, I know in that deposition you

19          referred to a letter that you said you had sent to me
20          when I was at ServiceMaster.

21   Q      Right.

22   A      And I said, I could have received that.             I assume if it

23          was sent that was probably sent through certified mail or

24          something where you could -- could track that.
25   Q      And you don't recall what you did with that letter when

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                                                                                  22

 1          you received it?

 2   A      No.   If -- if I received that letter, which I know you

 3          described as stating that there would be possible class

 4          action -- I know I would have referred it to, again,

 5          legal and/or human resources to investigate.

 6   Q      Okay.    But -- are you disputing that you received the

 7          letter I sent you in October of 2005?
 8   A      I'm saying that I don't -- October of 2005?

 9   Q      Sorry, '6.
10   A      October of 2006.      I'm saying I don't recall receiving
11          it --

12   Q      Okay.
13   A      -- but it is quite possible you did.            And I assume if you
14          sent it, that you sent it with certified mail or

15          something.
16   Q      Okay.    But the first time you -- you spoke with any
17          attorney about Mr. Barrow's situation was around October

18          of last year, and that was with Sherry Brooks?

19   A      Yes, that's correct.
20   Q      Okay.    So between October of 2006, at least when -- when

21          my letter was sent, and October of 2008, there was no

22          discussion with you by anybody about this matter?

23   A      No, there was not.

24   Q      Attorneys at least, is that right?
25   A      That's correct.

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                                                                                   23

 1   Q      Okay.    Now, you, as the president of -- of Terminix and

 2          then later ServiceMaster, were not involved in the local

 3          -- hiring of local employees, correct, absent other than

 4          maybe a branch manager?

 5   A      That's correct.      I was not involved in local hiring.              If

 6          I was involved at all, it was at a branch manager level,

 7          which was typically to review test scores and output when
 8          we were getting ready to promote somebody to a branch

 9          manager.
10   Q      Okay.    And you didn't review or collect applications that
11          were sent or -- or left at the local branch offices,

12          right?
13   A      No, I did not.
14   Q      And it wasn't your job to -- to hire anyone at the local

15          branches at a level lower than, perhaps, branch manager,
16          correct?
17   A      That's correct.

18   Q      And you don't know what conversations took place between

19          Mr. Barrow and Mr. Venturella about Mr. Barrow's
20          application or potential hire by Terminix, correct?

21   A      No, I don't.

22   Q      All right -- that is correct?

23   A      That is correct.

24   Q      All right.     And you don't know what Mr. Barrow told
25          Mr. Venturella about his criminal background or history,

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                                                                                  24

 1          do you?

 2   A      No, I don't.

 3   Q      And you don't know what Mr. Venturella said to Mr. Barrow

 4          about those matters, do you?

 5   A      No.

 6   Q      And you don't know what Mr. Venturella said, if anything,

 7          to people at a local level about any of those letters
 8          that Mr. Metzger showed you, correct?

 9   A      That's correct.
10   Q      You don't know if Mr. Venturella expressed displeasure
11          about the fact that those letters were sent?

12   A      I don't know.
13   Q      Okay.    And to the best of your knowledge, at no time
14          during your tenure at Terminix/ServiceMaster was there

15          ever an investigation of racial discrimination at the
16          Dayton, Ohio branch that was supervised by
17          Mr. Venturella, is that right?

18                       MR. METZGER:     Objection.

19   A      That's correct.      I'm not aware of any.
20                       MR. TORCHIA:     Those are all the questions I

21          have at this time.

22
23                             FURTHER EXAMINATION

24          BY MR. METZGER:
25   Q      Ms. Helmkamp, you indicated that you would have recalled

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                                                                                  25

 1          receiving the four letters I showed to you that are dated

 2          during a ten day period of July 15 through July 25 if

 3          they came in.      Why are you so confident of that?

 4   A      As I mentioned, even with my assistant opening the mail,

 5          she would have still put a copy on my desk.              She probably

 6          would have called my attention to the fact that I was

 7          receiving four letters in such a short time period from
 8          the same person.      If she hadn't, I would have noticed it.

 9          And I feel strongly I would, therefore, remember the
10          name.
11                       MR. TORCHIA:     Objection.     Move to strike.

12   Q      (BY MR. METZGER)      And did you, based upon any such
13          alleged letters, indicate that Mr. Barrow should not be
14          hired by the company?

15   A      No.
16   Q      Did you tell anybody that any action should be taken
17          against Mr. Barrow?

18   A      No.

19                       MR. METZGER:     Thank you.     I have no further
20          questions.

21                       MR. TORCHIA:     Nothing further.

22                       THE WITNESS:     Okay.

23                       THE VIDEOGRAPHER:      The time is 2:37 p.m.        This

24          concludes the videotaped deposition of Katrina Helmkamp.
25           (The videotaped deposition was concluded at 2:37 p.m.).

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